Case 1:18-bk-13425         Doc 52     Filed 05/24/19 Entered 05/28/19 16:23:21                      Desc Main
                                      Document     Page 1 of 3


                              UNITED STATES BANKRUPTCY COURT
                                                                                                 FIL. ED
                                 SOUTHERN DISTRICT OF OHIO                               I 9 MAY2'·                   ?->~
                                                                                                          'f     n1 1: 19
                               WESTERN DIVISION - CINCINNATI
                                                                                            c1RICI  //';/{fl
                                                                                               ,-R. ,... ". .
                                                                                                                 ',,. ._
                                                                                                                ~v.,,.. S
    In re:                                                    Case No. 18-13425              ,._r; , '"   0'" C -
                                                                                        U.S. [M'kc•
                                                                                                  ·, ,nu1•; Tf'yOURT
                                                                                                                  f'n
                                                                                            C/f{CI,\'<, ' ~ v.JURT
              Joshua V. Jones                                 Chapter 13
                                                                                                 '• "~ T/      vf'lf"O
                                                                                                           • • "'

              Amanda M. Jones
                                                              Judge Hopkins
              Debtor(s)
                                                              DEBTORS MOTION IN OPPOSITION TO
                                                              WITHDRAW OF COUNSEL


             Now comes Joshua and Amanda Jones ("Debtors") in opposition to attorney Nicholas
   Zingarelli ("Debtors legal counsel") motion to withdraw as counsel, and hereby moves this
   honorable Court to sanction Debtors legal counsel for his unethical actions against his clients
   interests, and refund Debtors $5,000.00 to hire legal counsel for pursuit against Debtors
   Homeowner' s Association ("Creditor") for numerous acts of fraud.


   Specifically, Debtors legal counsel scheduled a telephone conference with Debtor, Joshua Jones,
   on November 7, 2018. In the November 7, 2018 telephone conference, Debtors legal counsel
   offered legal counsel to his clients, stating that he would represent Debtors in their state court and
   Bankruptcy Court pursuit of fraud against Debtors Homeowner's Association ("Creditor"),
   further stating that the $5,000.00 retained by Debtors was not necessary as a result of Debtors
   legal counsel's offer ofrepresentation.


   Debtors relied solely upon statements by Debtors legal counsel during November 7, 2018
   telephone conference, to include but not limited to, the following statements. Debtors legal
   counsel's statements and corresponding time stamps, along with audio recording attached to this
   motion (via USB Flash drive at hearing), Exhibit A:


       1. Starting at 4:10 timestamp. In reply to Joshua Jones' statement, that he would need to hire
             an attorney to pursue the Homeowner' s Association for fraud in state court, Debtors legal
             counsel stated "that is something I can do, I do plenty of work in state court, but ifit
             does get to the point that we need to bring in a specialist, ok lets cross that bridge
             when we get to it" (5:00 timestamp).
       2. Starting at 8:52 timestamp. "ifwe need to go back to state court, we can do that", (at
             9:14 timestamp) "we fight the battle in the Bankruptcy realm, you know, I charge on
~   .   Case 1:18-bk-13425         Doc 52      Filed 05/24/19 Entered 05/28/19 16:23:21                    Desc Main
                                               Document     Page 2 of 3


                    an hourly basis, which means that I don't need a retainer, I have the Bankruptcy
                    estate to be able to pay me from the payments you make to the Trustee"
                3. Starting at 10:44 timestamp. "ifwe catch them in lies in front of the bankruptcy
                    court", "and say judge this goes beyond just making a mistake, this goes onto
                    actually intentionally falsifying records", (11 :26 timestamp) "have you ever seen
                    "the Firm?" "You know at the end how they ultimately end up taking down all the
                    bad lawyers is through mail fraud, and sending fake billing records. They did a
                    whole lot of other really terrible things, yeah, but you know what they still got the
                    same result, which is these guys are out of business and they're gonna go get to be
                    guests of the state or the government."
                4. The attached affidavit from Debtor, Joshua Jones, confirms the audio recording to be a
                    true and correct copy of the November 7, 2018 telephone conference scheduled by
                    Debtors legal counsel with Debtor, Joshua Jones, Exhibit B.


            Since the November 7, 2018 telephone conference Debtors legal counsel, has repeatedly denied
            ever making the statements of legal counsel in telephone conference, and has refused to take any
            actions as outlined in same statements, Exhibit A.


            When Debtors agreed to forego $5,000.00 to the Bankruptcy Court, Debtors relied solely upon
           Debtors legal counsel's statements during the November 7, 2018 telephone conference. It is clear
           that Debtors legal counsel never had any intent to represent Debtors in fraud actions in state court
           or Bankruptcy Court, or in the pursuit of criminal actions against Debtors Homeowners
           Association ("Creditor") for mailing fraudulent HOA bills & fraudulent legal bills. Debtors legal
           counsel's actions of obtaining Debtors concurrence to forego $5,000.00 that Debtors had retained
           to hire legal counsel for the pursuit of fraud in state court, does not benefit the interests of
           Debtors, but appears to benefit the interests of Debtors Homeowner's Association ("Creditor") in
           avoiding state court actions of fraud.


           Debtors submit that no good cause exists for withdraw and that the Debtors legal counsel should
            be sanctioned for his unethical actions, as well his actions against the interests of his clients.
            Debtors legal counsel has willfully created the current issues with his client, by first volunteering
            to represent Debtors in actions of fraud against the Debtors Homeowner's Association
           ("Creditor"), and secondly by denying ever making the aforementioned statements in Exhibit A;
           as well as Debtors legal counsel failing to take any actions outlined in his own statements in
                    Case 1:18-bk-13425        Doc 52      Filed 05/24/19 Entered 05/28/19 16:23:21                  Desc Main
1--   •   .,   ..
                                                          Document     Page 3 of 3


                       Exhibit A. As a direct result Debtors are left without the $5,000.00 previously retained to pursue
                       matters of fraud against Debtors Homeowner's Association ("Creditor") in state court, and also
                       now without legal counsel in Bankruptcy proceedings.


                       Debtors hereby moves this honorable Court to sanction Debtors legal counsel for his unethical
                       actions against his clients interests, and refund Debtors $5,000.00 to hire legal counsel for pursuit
                       against Debtors Homeowner' s Association ("Creditor") for numerous acts of fraud .




                                                        CERTIFICATE OF SERVICE

                       I hereby certify that a copy of the foregoing Debtors Motion in Opposition to Withdraw as
                       Counsel was served by ordinary U.S. mail or via Electronic mail on May 24, 2019 to:

                       Zingarelli Law Office
                       810 Sycamore Street, Third Floor
                       Cincinnati, Ohio 45202

                       Margaret A. Burks
                       Chapter 13 Trustee
                       600 Vine Street, Suite 2200
                       Cincinnati, Ohio 45202
